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 9
10   Attorneys for Plaintiffs

11
                                   IN THE UNITED STATES DISTRICT COURT
12                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                            SAN FRANCISCO/OAKLAND DIVISION
14
     ALAMEDA COUNTY MALE PRISONERS                                                            No. 3:19-cv-07423 JSC
15
     And Former Prisoners, DANIEL GONZALEZ,
16   et al. on behalf of themselves and others similarly
     situated, as a Class, and Subclass                                                       PROOF OF SERVICE
17          PLAINTIFFS,
18
     vs.
19                                                                                            JURY TRIAL DEMANDED
     ALAMEDA COUNTY SHERIFF’S
20   OFFICE, et al
       DEFENDANTS.
21
22        I, the undersigned, declare: I am employed in the County of ALAMEDA, California. I
     am over the age of eighteen (18) and not a party to the within action. My business address is 528
23   GRAND AVENUE, OAKLAND, CA 94610.
24
           On dated listed below I served a true and correct copy of the following documents:
25
26                 Summons
27
                   First Amended Complaint
28

                                                                                         1


                                                                   COMPLAINT; DEMAND FOR JURY TRIAL
                    Gonzalez v. Alameda County Sheriff’s Office United States District Court, Northern District of California, Case No____________________________
               Case 3:19-cv-07423-JSC Document 13 Filed 05/12/20 Page 2 of 3




                   Notice of Assignment to Magistrate Judge
 1
 2                 Consent/Declination to a Magistrate Judge

 3                 Application to Relate Case
 4
                   Exparte Application for Temporary Restraining Order
 5
                   Proposed Order
 6
 7                 Declarations (Dkt. 2 -thru 20): Cedric Henry, Adam Nelson, Lamont Williams, Eric
                   Wayne, Jose Alonzo Herrera, Leonard Wakefield, Ocie Johnson, Saul Espinoza,
 8                 Darryl Geyer, Dwight Adams, Jimmie Jones, Maria Moore, Troy Powell, Yolanda
                   Huang, Tikisha Upshaw, Angelo Valdez, Marla Armstrong, Tyronne Jones, Dr.
 9                 Christine Bourne
10
11
12
13
     _____US Mail: By depositing in the United States mail in Berkeley, California, copies of the
14   documents described above, enclosed in a sealed envelope with postage thereon fully prepaid,
     addressed as shown above.
15
16   __x___By Hand: By delivering by hand, copies of the documents described above, enclosed in a
     sealed envelope, addressed as shown below:
17   Alameda County                                    Alameda County Sheriff’s Office
     Administration Building                           Administration Office
18
     1221 Oak Street, Suite 555                        1401 LAKESIDE DRIVE, 7TH FLOOR
19   Oakland, CA 94612                                 Oakland, CA 94612

20    Sheriff Gregory Ahern                                                                   Commander Thomas Madigan
     Alameda County Sheriff’s Office                                                          Alameda County Sheriff’s Office
21
     Administration Office                                                                    Administration Office
22   1401 LAKESIDE DRIVE, 7TH FLOOR                                                           1401 LAKESIDE DRIVE, 7TH FLOOR
     Oakland, CA 94612                                                                        Oakland, CA 94612
23
                                                                                              Individual Defendants’ deliveries included:
24
     Captain Derrick Hesselein                                                                 Notice of a Lawsuit and Request to Waive
25   Alameda County Sheriff’s Office                                                          Service of a Summons
     Administration Office                                                                    Waiver of the Service of Summons Form
26   1401 LAKESIDE DRIVE, 7TH FLOOR                                                           Self-Addressed Stamped Envelope
27   Oakland, CA 94612

28

                                                                                         2


                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                 Gonzalez v. Alameda County Sheriff’s Office United States District Court, Northern District of California, Case No____________________________
               Case 3:19-cv-07423-JSC Document 13 Filed 05/12/20 Page 3 of 3




 1
 2
 3
           I declare under penalty of perjury under the laws of the State of California that the above
 4
     statements are true.
 5
     Executed May 8, 2020 at Berkeley, California.
 6
 7
 8
 9                                                            __/s/ Yolanda Huang________________
10                                                            Yolanda Huang

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                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                 Gonzalez v. Alameda County Sheriff’s Office United States District Court, Northern District of California, Case No____________________________
